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 1    Joseph T. Kutyla, Esq.
      Law Office of Joseph T. Kutyla
 2    10620 Treena Street, #230
      San Diego, CA 92131
 3    jtklaw@outlook.com
 4    Attorneys for Defendant Dale Weidenthaler
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 6
 7                      IN THE UNITED STATES DISTRICT COURT
 8                  FOR THE SOUTHERN DISTRICT OF CALIFORNIA
 9
10    MICHELLE MORIARTY, an individual, )           No. 17-cv-01154-LAB(AGS)
      as Successor in Interest to the Estate of )
11    HERON MORIARTY and as Guardian Ad )           DEFENDANT DALE
      Litem to ALEXANDRIA MORIARTY, )               WEIDENTHALER’S NOTICE OF
12    ELIJAH MORIARTY, and ETERNITY )               JOINDER OF DEFENDANTS
      MORIARTY,                                 )   AMANDA DANIELS, PNP AND
13                                              )   CORRECTIONAL PHYSICIANS
            v.                                  )   MEDICAL GROUP, INC.’S MOTION
14                                              )   IN LIMINE NO. 12 PRECLUDE
      COUNTY OF SAN DIEGO, DR.                  )   EVIDENCE, ARGUMENT AND
15    ALFRED JOSHUA, individually, and          )   TESTIMONY REGARDING
      DOES 1 through 10, Inclusive,             )   TERMINATION FOR CAUSE
16                                              )
                  Defendants.                   )
17                                              )
                                                    DATE: JUNE 12, 2020
18
                                                    TIME: 9:00 A.M.
19
20                                                  HONORABLE LARRY BURNS
21
22
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24
            COMES NOW, Defendant, DALE WEIDENTHALER and hereby joins the
25
      motion in limine number nine filed by co-defendants AMANDA DANIELS, PNP (“NP
26
      Daniels”) and CORRECTIONAL PHYSICIANS MEDICAL GROUP, INC. (“CPMG”)
27
      to preclude evidence, argument, and testimony regarding termination for cause. NP
28
      DANIELS and CPMG filed their motion in limine on May 8, 2020, docket number 177.
                                                                          17cv1154-LAB(AGS)
     Case 3:17-cv-01154-LAB-AGS Document 201 Filed 05/12/20 PageID.6404 Page 2 of 2



 1          Respectfully submitted,
 2
 3
 4    DATED: May 12, 2020
 5                                       By: s/ JOSEPH T. KUTYLA,
                                         Attorney for Defendant DALE WEIDENTHALER
 6                                       E-mail: jtklaw@outlook.com
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